March 29, 2019

Honorable Jennifer Henderson
United States Bankruptcy Court
2005 University Blvd, Room 2300
Tuscaloosa, Alabama 35401

Honorable Henderson:

My name is Annie Jackson and | am the daughter of Louise Cotton. | am submitting this letter on her
behalf as she is 82 years of age and frail. My mother got a letter from the bankruptcy court about
dismissing the chapter 11 case related to Cedar Oaks Memorial Park. | want you to know that she
objects to this dismissal. My mother bought a plot, vault, with opening and closing of the grave on good
faith from Cedar Oaks in hopes that when the time arrived she would be prepared to leave this world
without burden to her family. We expect at the time of her death to be able to use the items purchased
and not have to re-buy them. Preparing for a funeral at a time like that is very devastating to the family.
When you scrape up money, so your family does not have to beg to bury you is what she was trying to
do because most often in many families there is no money nor insurance set aside to take care of the
last rites of the family member. She did not want anyone begging money to take care of her. We highly
object to dismissing the bankruptcy and respectfully looking forward to your thoughtful consideration in
this matter.

Sincerely,

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Annie D-Jdackson
Daughter of Louise Cotton

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